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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

ZURICH AMERICAN              )
INSURANCE COMPANY,           )
                             )
              Plaintiff,     )
                             )
v.                           )
                             )                    Case No.: 1:22-cv-04377-JPB
PATRIOT MODULAR, LLC and     )
ELDECO PIPE AND FABRICATION, )
LLC,                         )
                             )
              Defendants.    )
                             )

  MEMORANDUM OF LAW IN SUPPORT OF ZURICH AMERICAN
INSURANCE COMPANY’S MOTION FOR SERVICE BY PUBLICATION
        AS TO DEFENDANT PATRIOT MODULAR, LLC

        COMES NOW Zurich American Insurance Company (“Zurich”), Plaintiff

herein, and, pursuant to Fed. R. Civ. P. 4(d)(1), files its Memorandum of Law in

Support of Its Motion for Service of Defendant Patriot Modular, LLC by publication,

and states as follows:

                             STATEMENT OF FACTS

          This is an action for declaratory judgment pursuant to 28 U.S.C. § 2202 to

determine and resolve questions of actual controversy involving a Commercial

General Liability policy issued by Zurich to Defendant Eldeco Pipe and Fabrication,


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LLC (“Eldeco”).1 Eldeco was sued by Defendant Patriot Modular, LLC (“Patriot”)

via a Fourth-Party Complaint, seeking indemnification for the claims asserted

against Patriot in that case styled IHI E& C International Corporation v. Robinson

Mechanical Contractors, Inc. d/b/a Robinson Construction Company and Fidelity

Deposit Company of Maryland, Civil Action No. 1:19-cv-04137-JPB, United States

District Court, Northern District of Georgia (the “Underlying Lawsuit”).

           On November 2, 2022, Zurich filed its Complaint for Declaratory Judgment

against Defendants Eldeco and Patriot, seeking a declaration that there is no

coverage for either under the Policy for the claims asserted against each in the

Underlying Lawsuit. Summonses were issued to each of these Defendants on the

same day [ECF Nos. 2-3].

         On November 7, 2022, counsel for Zurich enlisted Ancillary Legal

Corporation (“Ancillary”), a private process server, to serve Defendant Patriot with

the Summons and Complaint via its Registered Agent, Allen McKinney, at his

registered address, 1018 Highway 80 West, Suite 508, Pooler, Georgia 31322.

(Loomis Declaration ¶ 8).

         On November 8, 2022, Ancillary notified counsel for Zurich that the process

server was unable to serve Patriot’s Registered Agent at 1018 Highway 80 West,


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    The Policy is in the record at ECF-1-1.
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Suite 508, Pooler, Georgia 31322, as Patriot and/or its Registered Agent had moved

three years prior and left no forwarding address. (Loomis Declaration ¶ 8). The

Affidavit of Non-Service on Patriot is in the record at ECF-9.

        On November 11, 2022, counsel for Zurich ran an internal skip trace search

for Patriot, which provided a second Registered Agent for Patriot, Justin Kreft at 120

Bearle Street, Pasadena, Texas 77506. (Loomis Declaration ¶ 9).

        On December 8, 2022, counsel for Zurich enlisted Ancillary again to serve

Patriot with the Summons and Complaint via its Registered Agent on file with the

Texas Secretary of State, Justin Kreft, at his address 120 Bearle Street, Pasadena,

Texas 77506. (Loomis Declaration ¶ 9).

        On December 13, 2022, Ancillary notified counsel for Zurich that the process

server was unable to serve Patriot’s Registered Agent at 120 Bearle Street, Pasadena,

Texas 77506 because the business had closed down. (Loomis Declaration ¶ 10). The

Affidavit of Non-Service is in the record at ECF-10.

        Per the records of the Georgia Secretary of State, Corporations Division,

Defendant Patriot was involuntarily or administratively dissolved, and its certificate

of authority was revoked by the Office of the Secretary of State on August 26, 2019.

(Loomis Declaration ¶ 16). It therefore appears that the limited partnership has failed




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either to maintain a registered office or appoint a registered agent in this State,

pursuant to O.C.G.A. § 14-9-104(g). Id.

        On or about December 15, 2022, counsel for Zurich contacted the attorney

representing Patriot in the Underlying Lawsuit, Michael P. DiOrio with the law firm

Lewis, Brisbois, Bisgaard & Smith, LLP. Counsel for Zurich requested that Mr.

DiOrio accept service of the Summons and Complaint on behalf of Patriot, but Mr.

DiOrio advised he had not been retained to represent Patriot in any matters other

than the Underlying Lawsuit and, therefore, was not authorized to accept service in

this action. (Loomis Declaration ¶ 11).

        Counsel for Patriot in the Underlying Lawsuit advised Zurich to contact

Patriot’s insurance coverage counsel, Ben Perkins with the law firm Oliver Maner,

LLP. (Loomis Declaration ¶ 12).

        On January 25, 2023, counsel for Zurich served Mr. Perkins with a Notice of

Lawsuit, Request to Waive Service of a Summons, Waiver of Service of Summons

form, and a copy of the Summons and Complaint for this action. (Letter to Ben

Perkins, dated January 25, 2023, attached hereto as Exhibit “A”).

        Having received no response to its Request to Waive Service of a Summons

within the provided thirty-day period, Plaintiff sent an email to Mr. Perkins on




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February 14, 2023, reiterating its request that Mr. Perkins accept service of the

Summons and Complaint on behalf of Patriot. (Loomis Declaration ¶ 14).

        On February 22, 2023, Mr. Perkins responded to Zurich’s attorney’s email,

advising that he had only been retained to represent Patriot in connection with “the

Indian Harbor case,” and was not authorized to accept service on behalf of Patriot in

this case. Mr. Perkins advised he did not know the identity of Patriot’s current

Registered Agent, if any. (See emails between Ben Perkins and Luciana Aquino,

attached hereto as Exhibit “B”).

        To date, Zurich has been unable to locate another address for Patriot and/or

its Registered Agent where service of the Summons and Complaint in this matter

can be effectuated. Zurich has a claim against Patriot since it is seeking

indemnification from Zurich’s insured, Eldeco. Zurich thus seeks the Court’s

permission to proceed with service of process upon Defendant Patriot Modular, LLC

by publication.

                   ARGUMENT AND CITATION OF AUTHORITIES

         Fed. R. Civ. P. 4(e)(1) provides that an individual may be served by

“following state law for serving a summons in an action brought in courts of general

jurisdiction in the state where the district court is located or where service is

made …”. Per Georgia state law, when a defendant cannot, after due diligence, be

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found within the state, or conceals himself to avoid service of the summons, a

plaintiff may perfect service by publication upon the approval of the Court.

O.C.G.A. § 9-11-4(e)(1). Per O.C.G.A. § 9-11-4(f)(1)(A) service by publication

is permitted under certain conditions:

             (A) General. When the person on whom service is to be made
         resides outside the state, or has departed from the state, or cannot, after
         due diligence, be found within the state, or conceals himself or herself
         to avoid the service of the summons, and the fact shall appear, by
         affidavit, to the satisfaction of the judge or clerk of the court, and it
         shall appear, either by affidavit or by a verified complaint on file, that
         a claim exists against the defendant in respect to whom the service is
         to be made, and that he or she is a necessary or proper party to the
         action, the judge or clerk may grant an order that the service be made
         by the publication of summons, …. This Code section shall apply to
         all manner of civil actions, including those for divorce.

        In this case, Zurich has attempted to serve Patriot via two of its Registered

Agents at two separate addresses: 1018 Highway 80 West, Suite 508, Pooler,

Georgia 31322 and 120 Bearle Street, Pasadena, Texas 77506. Neither of these

locations were occupied by Patriot or any of its Registered Agents. Zurich has

contacted two other law firms retained to represent Patriot in other matters, but

neither was authorized to accept service on behalf of Patriot for this action.

Furthermore, counsel for Patriot did not have any information regarding Patriot’s

current Registered Agent or any other address where service upon Patriot may be

effectuated.


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        Additionally, Zurich has a claim against Patriot because it has sued Eldeco,

Zurich’s insured, seeking indemnification in the Underlying Lawsuit. As such,

Patriot is a necessary party to this declaratory judgment action because it will be

bound by the stare decisis effect of any coverage determinations made by this Court.

See Am. Safety Cas. Ins. Co. v. Condor Assocs., Ltd., 129 F.App’x 540, 542 (11th

Cir. 2005); Owners Ins. Co v. Bryant, No. Civ.A. 305CV48CAR, 2006 WL 50488,

at * 3 (M.D. Ga. Jan. 9, 2006). (Loomis Declaration ¶ 17).

                                  CONCLUSION

        For the reasons stated herein, Zurich should be allowed to proceed with

service of process upon Defendant Patriot Modular, LLC by publication. A proposed

Order regarding same is attached.

        Respectfully submitted this 3rd day of March, 2023.

                                              /s/ Kenan G. Loomis
                                              Kenan G. Loomis
                                              Georgia Bar No. 457865
                                              Luciana Aquino
                                              Georgia Bar No. 114433
                                              COZEN O’CONNOR
                                              1230 Peachtree Street, NE
                                              The Promenade, Suite 400
                                              Atlanta, GA, 30309
                                              Telephone: 404-572-2028
                                              Facsimile: 866-591-9127
                                              E-mail: kloomis@cozen.com
                                                       laquino@cozen.com


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                                           Attorneys for Plaintiff Zurich
                                           American Insurance Company


CERTIFICATION: The above-signed counsel hereby certifies that this document
was prepared in Times New Roman 14-point font and a 1.5 inch top margin in
accordance with LR 5.1B, N.D.Ga.




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                    IN THE UNITED STATES DISTRICT COURT
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                             )
              Plaintiff,     )
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v.                           )
                             )                    Case No.: 1:22-cv-04377-JPB
PATRIOT MODULAR, LLC and     )
ELDECO PIPE AND FABRICATION, )
LLC,                         )
                             )
              Defendants.    )
                             )

                          CERTIFICATE OF SERVICE

        This is to certify that on March 3, 2023, I electronically filed the foregoing

MEMORANDUM OF LAW IN SUPPORT OF ZURICH AMERICAN

INSURANCE COMPANY’S MOTION FOR SERVICE BY PUBLICATION

AS TO DEFENDANT PATRIOT MODULAR, LLC with the Clerk of the Court

using the CM/ECF system. I further hereby certify that I have also served a copy of

the foregoing via U.S. Mail on Defendants Eldeco and Patriot as follows:




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                               Eldeco Pipe and Fabrication, LLC
                               c/o Allen McKinney
                               5751 Augusta Road
                               Greenville, SC 29605

                               Patriot Modular, LLC
                               c/o Justin Kreft
                               120 Bearle Street
                               Pasadena, TX 77506

        This 3rd day of March, 2023.

                                           /s/ Kenan Loomis
                                           Kenan G. Loomis
                                           Georgia Bar No. 457865




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